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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA


In re:

Daniel Bradley Whirley,                                             Bky. Case No. 21-50083
                                                                    Chapter 7

                 Debtor.



                          NOTICE OF SETTLEMENT OR COMPROMISE


To: The United States Trustee, all creditors and other parties in interest.

On May 14, 2021 or as soon thereafter as the transaction may be completed, the undersigned Trustee of
the estate of the Debtors named above will settle a controversy as follows:

The Debtor and the Trustee have reached an agreement relating to the Debtor’s non-exempt assets
where the Debtor will pay the Trustee $ 23,148.78 for the following disclosed assets:

                                                                       Scheduled     Settlement
           2009 Malibu Wakesetter LSV                                  18,056.00     14,444.80
           (non exempt equity)
           2000 MIDI Trailer                                              500.00         400.00
           Bear Trailer                                                   400.00         320.00
           2016 Polaris Ranger and 2001 Lund SSV20 boat                  6253.00        5002.40
           (non exempt equity)
           Miscellaneous sports equipment                                 745.00         596.00
           Firearms and hunting equipment                                1344.50        1075.60
           Miscellaneous lawn equipment and tools                         475.00         380.00
           Ameritrade investment account                                  598.00         598.00
           Computer Share investment account                              210.00         210.00
           Non exempt portion of bank accounts                            121.98         121.98
           Total                                                      $28,703.48      23,148.78

The Debtor will pay the Trustee a total of $23,148.78 for the assets listed above, which represents a 20%
discount to scheduled values on the non-cash items. Payment will be as follows: $10,000 by May 1,
2021 and final payment of $13,148.78 by June 1, 2021. In addition, the Debtor is turning over his portion
of the Miltec Partners investment account ($49,803), and the non-exempt life insurance cash value (est.
$19,606). In consideration of the above referenced payment, the Trustee on behalf of the bankruptcy
estate will waive all claims against the Debtor’s non-exempt assets disclosed in Schedules A/B and C of
the Debtor’s petition. Upon discovery of undisclosed assets, the Trustee shall be entitled to re-open the
case to administer such assets. This agreement shall be governed by Minnesota law as modified by the
Bankruptcy Code. If payment is not made or if this agreement is not approved by the bankruptcy court,
the Trustee shall be entitled to reassert any and all claims.

OBJECTION: MOTION: HEARING. Under applicable rules, any objection must be in writing, be delivered
to the trustee and the United States Trustee and be filed with the clerk, not later than 12:00 o’clock noon
on the day before the above date. If any objection is made or an order is required, the trustee moves the
court for such orders as may be necessary and appropriate. If an objection is timely delivered and filed,
the court will hold an expedited hearing on the objection with reduced notice of the hearing. The hearing
will be scheduled by the trustee with notice by the trustee to the objecting party and the U. S. Trustee.
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Clerk of Court                       United States Trustee                 Trustee
United States Bankruptcy Court       1015 U S Courthouse                   (See address below)
404 U.S. Courthouse                  300 So. 4th St.
515 W First Street                   Minneapolis, MN 55415
Duluth MN 55802

Dated: April 23, 2021                                        /e/ Erik A. Ahlgren
                                                             Erik A. Ahlgren, Trustee
                                                             220 W Washington Ave, Ste 105
                                                             Fergus Falls, MN 56537
                                                             218-998-2775
                                                             trustee@prtel.com
